469 F.2d 1406
    New Orleans Terminal Companyv.Parish of Jefferson***
    No. 72-2436
    United States Court of Appeals, Fifth Circuit
    Jan. 3, 1973
    
      1
      E.D.La.
    
    
      
        *
         Summary Calendar cases; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 cases:  see N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    